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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                   )      CRIMINAL ACTION NO.
                                            )
            Plaintiff,                      )      1:21-CR-00032-DLF
                                            )
v.                                          )
                                            )
GUY WESLEY REFFITT,                         )
                                            )
            Defendant.                      )
                                            )

RESPONSE TO GOVERNMENT’S SENTENCING MEMORANDUM AND
       SUPPLEMENTAL SENTENCING MEMORANDUM

      Having reviewed countless government sentencing memorandums in various

January 6 cases where a defendant, after trial, was sentenced to between 60-90

months imprisonment, it seems like it is a common theme to paint each defendant as

the worst of the worst. See, e.g., Gov’t Sentencing Memorandum for Audrey

Southard-Rumsey (sentenced to 72 months imprisonment) at 3 (“Southard-Rumsey

was one of the most intentional, hostile, and aggressive participants in the riot.”

(emphasis added)); Gov’t Sentencing Memorandum for Kyle Fitzsimons at 1 (“Kyle

Fitzsimons, one of the most violent and aggressive participants in the January 6,

2021 attack on the United States Capitol.” (emphasis added)).

      Notably, in some of these sentencing memorandums, the government actually

uses Mr. Reffitt’s case as an example to support its sentencing recommendation in
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those cases:

       1) Gov’t Sentencing Memorandum for Christopher Grider (sentenced
       to 83 months imprisonment before any resentencing) at 34 (“Grider’s
       conduct was more egregious than Reffitt’s in several significant
       respects” (emphasis added)).

       2) Gov’t Sentencing Memorandum for Christopher Alberts (sentenced
       to 84 months imprisonment before any resentencing) at 48 (“The fact
       that Alberts actually engaged in violence, unlawfully remained on
       restricted Capitol grounds for six hours while menacing officers, and
       materially lied under oath, illustrates the need for a far greater sentence
       than Reffitt.” (emphasis added).

       3) Gov’t Sentencing Memorandum for John Sullivan (sentenced to 72
       months imprisonment before any resentencing) at 41 (“[U]nlike
       Reffitt, Sullivan actually entered the Capitol Building, incited rioters at
       every major breach inside, and offered up his own deadly weapon at two
       crucial junctures—either of which could have led to more officers or
       rioters killed. While the two men have vastly disparate worldviews,
       both shared a desire to see the government burn and had no remorse for
       their actions. Sullivan deserves an equivalent sentence, varied upwards
       to 87 month.” (emphasis added).

       4) Gov’t Sentencing Memorandum for Thomas Robertson (resentenced
       to 72 months imprisonment) at 39 (“At the original sentencing in the
       instant case, the Court used the defendant in United States v. Reffitt,
       21-cr- 32 (DLF) as a comparator.”).1




       1
        The government tells this Court that “Reffitt’s actions were, in many ways, more serious
than Robertson’s” (see Sentencing Memorandum at 42), despite telling Judge Cooper that “Reffitt
remains a reliable comparator based on the 3553(a) factors” and reminding Judge Cooper that he had
found “ ‘the two cases are roughly notionally the same.’ ” See Robertson Sentencing Memorandum
at 39-40.

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                      II. GUIDELINES CALCULATIONS

      The only meaningful guideline dispute that may need to be resolved at the

resentencing relates to the handling of Count 4. Count 4 was irrelevant to the offense

level at the initial sentencing so it did not get much attention at the original

sentencing hearing. In connection with that sentencing, it was grouped separately but

only “scored” at an offense level 13.

      In its Sentencing Memorandum, the government suggests Count 4 should

not be grouped with the other Counts and then suggests that Count 4 be “scored” as

follows:

      U.S.S.G. § 2A2.4(a) Base Offense Level                       10

      U.S.S.G. § 2A2.4(b)(1)(B) Dangerous Weapon                   +3

      U.S.S.G. § 3B1.1(c) Aggravating Role                         +2

      U.S.S.G. § 3C1.1, cmt. n.4 Obstruction of Justice            +2

                                                           Total 17

The government then concludes, based upon the premise that Count 4 forms its own

group, that U.S.S.G. § 3D1.4 produces 1 ½ “units” and, as a result, increases Mr.

Reffitt’s Total Offense Level from 22 to 23.

      Mr. Reffitt disagrees with the government and he agrees with probation that

Count 4 is grouped with the other counts of conviction.            U.S.S.G. § 3C1.1,

                                          3
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Application Note 5 provides that, where a defendant is convicted of an obstruction

offense and an underlying offense, “the obstruction offense will be grouped with the

count for the underlying offense.” Similarly, at trial, the government argued that

Count 1 included the firearm that the government now wants to include as a

“dangerous weapon” for the purposes of adding a specific offense characteristic to

the guideline calculation for Count 4.2 Nevertheless, if such a specific offense

characteristic was to be used for Count 4, then it is groupable with Count 1 pursuant

to U.S.S.G. § 3D1.2(c).3




        2
         Trial Transcript at 1457 (“When a man drives across the country with two firearms, and
carries one of them on his hip to the U.S. Capitol to lead a mob, while leaving the other ready for
use in his car to confront the police, to try to take over Congress and forcibly remove the legislators,
he is guilty of transporting a firearm to further a civil disorder. Before January 6th, while the
defendant was still in Texas, he said he would go to the Capitol armed to overthrow Congress. He
said it again on January 6th, while he was at the Ellipse and then he did it. You saw the photo
yourself. Count 1 is proved.” (emphasis added)).
        3
          On the other hand, if Count 4 was not groupable, Mr. Reffitt submits, first, the firearm
enhancement would not apply since he did not “threaten” the officers at the Capitol with the firearm.
Indeed, U.S.S.G. § 2A2.4 requires that a dangerous weapon not only be “possessed” but that its “use
was threatened.” Second, there should be no aggravating role enhancement for the reasons discussed
at the first sentencing hearing. Third, there should be no obstruction of justice enhancement given
the underlying conviction for obstruction of justice. As such, the Offense Level for Count 4 would
be 10 and not produce any “units” and the Total Offense Level would remain at 22.

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   III. OTHER SENTENCES BETWEEN 60-90 MONTHS FOLLOWING
                           TRIAL4

       The government, in its Sentencing Memorandum, identified cases not

contained in Mr. Reffitt’s inital Sentencing Memorandum where defendants were

sentenced to between 60-90 months imprisonment following a trial. As a result,

Undersigned Counsel once again reviewed prior sentences to identify those missing

from the original Sentencing Memorandum. The ones used by the government in its

“disparity” discussion in its Sentencing Memorandum as comparable cases are

highlighted.5


       4
        Mr. Reffitt neglected to note in his initial Sentencing Memorandum that it is presumed that
many of these summarized cases will require resentencings in light of Fischer and Brock. Given that
the two known felony resentencings to date have resulted in reduced sentences (Robertson and
Brau), it is likely that many of the sentences will be reduced and should be viewed through that
prism as well.
       5
           The government also uses two cases where the sentences were over 90 months:

       United States v. Thomas Webster, No. 1:21-CR-00208-APM 120 MONTHS

       !Former United States Marine and 20 year officer with the New York City Police
       Department.

       !Came to Washington from New York with his NYPD-issued bulletproof vest, and
       packing his “off duty” firearm—a Smith & Wesson Model 640 revolver, small
       enough to conceal inside a jacket pocket. Additionally, he brought with him his
       military-issued rucksack containing Meals Ready-to-Eat, water bottles, and Gatorade

       !At the Capitol, he used a flag pole as a weapon to repeatedly swing it at officers.

       !Charged an officer and tackled him and tried to rip of his gas mask. This caused
       tear gas to become trapped inside the officer mask, and the officer’s throat and nose
       began to burn. The officer also struggled to breathe because he was being choked

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by the chinstrap of his helmet.




!On a live video feed, he called for more “patriots” to join the riot.

!Was present when other rioters abducted and dragged an officer face first down
the Capitol stairs and beat him.

!He deleted evidence from his phone following the riot.

!At trial he called the officer he attacked a “rogue cop,” and questioned the officer’s
training, integrity, and professionalism.

Unlike Mr. Reffit, he testified at trial.

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14) United States v. Kyle Fitzsimons, No. 1:21-CR-00158-RC
87 MONTHS

This is how the government described Fitzsimons:

       Kyle Fitzsimons, one of the most violent and aggressive
       participants in the January 6, 2021 attack on the United
       States Capitol, assaulted at least five different police
       officers and caused a career-ending and life-altering injury
       to United States Capitol Police (“USCP”) Sergeant
       Aquilino Gonell.”

YET THE GOVERNMENT REQUESTS THE SAME SENTENCE
FROM THIS COURT FOR MR. REFFITT AS THE ONE THAT
WAS IMPOSED ON “ONE OF THE MOST VIOLENT AND
AGGRESSIVE PARTICIPANTS IN THE JANUARY 6, 2021
ATTACK” (A SENTENCED IMPOSED BEFORE THAT
DEFENDANT HAS EVEN BEEN RESENTENCED).

THIS IS THE VERY ESSENCE OF A DISPARITY!

!Prior to coming to Washington, he left threatening messages for a
Maine Congressman.



United States v. Albuquerque Cosper Head, No. 1:21-CR-00291-APM 90 MONTHS

!Traveled with others from Tennessee.

!He had a history of 45 prior arrests.

!He repeatedly struck officers with multiple riot shields in the Lower West Terrace
tunnel.

!He wrapped his arm around an officer’s neck and emitted a sickening yell to his
fellow rioters—“I’ve got one!” He then forcibly dragged the officer into the riotous
mob, isolating him as the crowd violently assaulted the officer. He continued to
restrain the officer while another rioter applied a taser to the base of the officer’s
skull. The officer went limp and lost consciousness for about 2 ½ minutes.

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!He traveled to Washington from Maine. During the riot at the Capitol,
Fitzsimons committed repeated and separate violent assaults against
police officers during the brawl at the mouth of the Lower West Terrace
tunnel. In chronological order:

!He hurled a wooden staff like a spear at a group of officers and struck
one officer in the head.

!He swiped repeatedly at another officer’S head trying to strike him
and dislodge his gas mask.

!He wrenched Officer Gonell’s shoulder so hard and for so long that
he permanently damaged it, ending Sgt. Gonell’s law enforcement
career

!He twice charged into a group of officers, wildly swinging his fists,
indiscriminately trying to punch any officer he could reach.




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!He urged other rioters to “get in there” and fight the police like he had.


15) United States v. Taylor Johnatakis, No. 1:21-CR-00091-RCL
87 MONTHS

!Prior to coming to Washington, D.C., posted on social media, ““[B]urn
the city down. What the British did to DC will be nothing…”

!He came from the State of Washington to Washington and organized
rioters with a megaphone strapped to his back.

!As he approached the Capitol Building he rallied the rioters: “Michael
Pence has become a traitor to this nation. He’s been one. We just didn’t
want to recognize it or admit it. It’s over. Michael Pence has voted
against the president. We are down to the nuclear option.”

!He lead the charge under the inaugural scaffolding up the stairs to the
Capitol chasing officers and forcing their retreat.

!He then continued to organize his fellow rioters, waving them toward
the police line and instructing them to “PACK IT IN – PACK IT IN!”

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 He began arranging and preparing the mob to assault the officers.

 !He used metal barricade to attack officers. He lifted them up to eye
 and head-level and used them to assault the officers.




 !Grabbed one officer to prevent him from defending himself against
 other attacking rioters— contributing to that officer’s physical injury.

 !Gave post-riot interviews: “And when I tell you that we did nothing,
 I mean we did nothing. We touched a gate. We got pepper sprayed, we
 moved back....Everything about January 6 is just overblown.”


 16) United States v. Christopher Alberts, No. 1:21-CR-00026-CRC
 84 MONTHS

 !He was a former National Guardsman.

 !He arrived in Washington wearing metal-plated body armor and
 carrying a concealed, fully loaded firearm (containing hollow point
 and high-pressure rounds), a gas mask, throat mic, binoculars, bungee
 cords, and a fully loaded ammunition magazine.

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 At a key chokepoint blocking access to multiple entrances to the Capitol
 Building, he was the first rioter to ascend and reach a staircase landing
 Because he was protected by metal-plated body armor and a gas mask,
 he was undeterred by the pepper ball and pepper spray measures used by
 officers to repel the rioters. The government compared this to Mr.
 Reffitt in its Sentencing Memorandum in that case. (“While these
 measures succeeded in incapacitating some rioters—including Guy
 Reffitt,...Alberts—protected by his gas mask and body armor—was able
 to continue his advance on the Capitol building.”).

 !He was the very first rioter to go hands-on with an officer on the
 Northwest Steps

 !He then grabbed a wooden pallet as he charged up the stairs, using the
 pallet as a battering ram against the officers guarding the stairwell.

 !He screamed at police officers that they were “domestic terrorists”
 and were “treasonous, communist motherfuckers,”

 !He urinated on a wall of the Capitol Grounds while yelling, “fuck
 D.C. Metro.”

 !He threw a bottle at the police line.

 !He later ! his flashlight into the faces of officers in an attempt to blind
 them before retrieving a bullhorn and using it to berate the officers.

 !Was arrested on Capitol grounds with his loaded firearm.

 !He, unlike Mr. Reffitt, testified at trial and offered false testimony .


 17) United States v. Michael McHugh, No. 1:21-CR-00453-JDB
 78 MONTHS

 !He prepared for violence beforehand, telling people he was going to
 Washington, D.C. to “fight” and “storm Congress.” He brought with

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 him a cannister of bear spray, 50 percent stronger than the pepper spray
 used by police, which he carried in a holster for ready access.

 !Before the riot and using his megaphone, he urged people to “march
 on Congress directly after Trump’s speech” and telling them there were
 “power in numbers.”

 !He was one of the initial rioters to breach a police line and enter the
 West Plaza.

 !He used his megaphone to spew vitriol towards officers and to
 encourage other rioters to act against the officers.

 !He wrestled with an officer for control of a barricade protecting access
 to the Capitol.

 !He assaulted officers on the West Plaza, hitting them with his bear
 spray, causing the officers to back away from the line, He fired two
 long, continuous bursts towards the line of law enforcement officers
 from a range of a little more than 10 feet. He purposely directed the
 spray across a wide area in order to impact the maximum number of
 officers. This caused several officers to have to leave the police line
 allowing other rioters to become more aggressive given the decrease
 in officers protecting the Capitol.

 !Used his megaphone, to encourage and embolden rioters and taunt
 police. Yelling such things as: (1) You are fucking cowards!” (2)
 “We’re coming, you can’t stop us forever, you can’t stop us forever, we
 are coming!” (3) “I’d be shaking in your little shit boots too!” (4) “Nazis
 followed orders!”




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 !He helped other rioters to push a large metal sign into officers.

 !After the riot, he posted on social media, “I unloaded a whole can of
 bear spray on a line of cops I got three of them down really really
 good.”


 18) United States v. Markus Maly, No. 1:21-CR-00178-BAH
 72 MONTHS

 !Had a “decades long” criminal history.

 !While in the Lower West Terrace, he picked up a canister of a
 chemical lachrymatory agent and sprayed it at an MPD officer causing
 the officer very severe pain (a 9 or 10 on a 10 point scale).

 !Later in the Lower West Terrace Tunnel he made his way towards the
 front of the group of rioters, where he took a canister of spray from a co-
 defendant and passed it to another co-defendant who then used that
 canister and sprayed an entire police line..

 !He obtained a stolen police shield that had been passed back to him by
 other rioters in the tunnel and left with the shield as a trophy from his

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 attacks.

 !He, unlike Mr. Reffitt, testified at trial and offered false testimony
 including blatantly denying the incidents with the chemical spry.


 19) United States v. Isaac Sturgeon, No. 1:21-CR-00091-RCL
 72 MONTHS

 !He and co-defendants climbed through the inaugural stage scaffolding,
 up the southwest stairs, and made their way to the front of the mob at the
 top of the stairs.

 !Along with a co-defendant, assaulted officers with a metal barricade
 in an attempt to gain entry into the Capitol building.

 !Deleted evidence from his phone after the fact.


 20) United States v. Odin Meacham, No. 1:23-cr-00287-JDB
 72 months

 !Traveled to Washington from Utah.

 !At the Capitol, he rushed towards several officers guarding the West
 Plaza, raised a wooden flagpole over his head, and slammed the
 flagpole against the upper body of an officer so hard that the flagpole
 snapped in half.

 !He then swung the broken flagpole at officers.




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 !After her abandoned the broken flagpole, he picked up a metal pole
 then threw the metal pole at a MPD officer, hitting the officer. He the
 began taunting that officer.

 !He next approached another MPD officer and shouted “lean in!”
 repeatedly, while gesturing towards the crowd in an apparent attempt to
 rally others to overpower the line of officers. He then grabbed the
 officer’s baton and tried to wrestle it away.

 !While Capitol grounds, verbally harassed, abused, and taunted
 officers. His comments included expletives and accusations, such as
 “you fucking pieces of shit,” “you traitors,” “you dogs,” “you fucking
 scumbag pieces of shit,” and “are you scared, mother fucker?”




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 21) United States v. Frederico Klein, No. 1:21-CR-00040-TNM
 70 MONTHS

 !Convicted of six separate charges of assaulting officers.

 !After entering the Lower West Terrace tunnel, he forcibly pushed
 against officers with his body and stolen police riot shields. At one
 point, when it appeared the police were going to be able to finally close
 one set of doors between them and rioters, creating an advantageous
 barrier, he wedged a police riot shield in between the doors, helping to
 force the doors back open so that rioters could continue their assaults
 on police.


 22) United States v. Anthony Williams, No. 1:21-CR-00377-BAH
 60 MONTHS

 !He entered the Capitol through the Senate Wing doors only 6 minutes
 after they were initially breached. He then overran the police in the
 Crypt with other rioters. He advanced to the Rotunda where he
 celebrated with other rioters and smoked marijuana.

 !He stole officers’ water bottles

 !On April 19, 2021, he affirmed his defiant stance in a chat group of
 “patriots,” stating, “I was in the Capitol and have absolutely no remorse
 or fear in saying or doing it.” He went further and touted his
 overrunning of the police in the Crypt and resisting them in the Rotunda,
 stating on in the chat group, “I ‘passed thru’ the Crypt then held the
 Rotunda.”

 !He, unlike Mr. Reffitt, testified at trial and offered false testimony.




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 23) United States v. Tristian Stevens, No. 1:21-CR-00040-TNM
 60 MONTHS

 !Rented a car with his brother to drive from Florida to Washington.

 !After arriving at the Capitol, he threatened officers, “Do you know
 what happens to traitors? Do you know what happens when you commit
 treason? YOU GET TIED TO A POST AND SHOT FOR BEING A
 TRAITOR. Are you prepared for that? Are you? Are you ready? Are
 you ready? HUH?! Yeah fuck you. You’re a coward, man. You’re
 nothing but a coward. HUH? Speak the fuck up, you pussy! Like a
 fucking man. Speak up! Speak up! Use your voice. I can’t hear you
 because you’re a little bitch!” He then pointed at officers and yelled at
 each one: “Coward! Coward! Coward! Coward!”

 !In the Lower West Terrace tunnel, he assumed an “integral role” in the
 attack on officers as he was trying to enter the Capitol building.

 !He forcefully pushed a police shield directly into an officer’s body,
 face, and helmet in order to allow others to try several times to grab an
 officer’s baton.

 !Convicted of four counts of assault.


 24) United States v. Michael Oliveras, No. 1:21-CR-00718-BAH
 60 MONTHS

 !Using a bicycle rack as a ladder, he gained access to the Capitol. Once
 inside, he screamed out menacing threats such as,“WHERE ARE THE
 FUCKING TRAITORS? DRAG EM OUT BY THEIR FUCKING
 HAIR! WHERE ARE THE FUCKING TRAITORS?” and “DRAG THE
 FUCKING TRAITORS OUT!”

 !After being removed from the Capitol building, he went to the other
 side and entered it for a second time through the Senate Wing doors.


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      !After being removed from the building again, he stood at the front of
      the mob of rioters and directly faced officers and he stepped forward
      with outstretched arms and assaulted one of the officers with his hands.

      !When later interviewed by the FBI and asked about his participation
      in the Capitol siege, he confidently stated, “I wouldn’t change a thing,
      I’d do it again.”

     IV. ANOTHER RESENTENCING RESULTING IN A REDUCED
                        SENTENCE

      In addition, counsel learned of one additional resentencing following a remand

based upon Fischer and Brock. There, for a defendant who certainly engaged in more

egregious conduct than Mr. Reffitt, Judge Boasberg reduced the defendant’s sentence

from 72 months to 60 months

      United States v. Marc Bru, No. 1:21-CR-00352-JEB 60 MONTHS

      !A Proud Boy who traveled from Washington State to Washington,
      D.C.

      !He joined the first wave of rioters to breach the restricted perimeter on
      the west side near Peace Circle.

      !He quickly made his way to the front of the mob on the West Plaza.
      There, he verbally harassed a severely outnumbered group of officers.
      He pointed at them and repeatedly yelled: “you’ll die for the
      corporation!”

      !He grabbed hold of one barricade with both hands and pushed it into
      the officers, putting his entire body weight behind the effort.

      !After he breached the Capitol building, he made his way through the
      Rotunda, up the Gallery Stairs, and to the Senate Gallery. While

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 standing in the Senate Gallery, he took several selfies with the empty
 Senate Floor in the background—the floor from which, just twenty
 minutes prior, Secret Service agents had evacuated the Vice President
 and his family, and police officers had evacuated senators and their
 staffs. In one of the selfies, Bru flashed a hand sign associated with the
 Proud Boys.




 !Six weeks following the January 6 riot, he sought to buy gas masks in
 bulk, recruited others, and made plans to lead a violent, armed
 insurrection to take over the government in Portland, Oregon. He
 was arrested in this case before those plans could come to fruition.

 !Following his pro se trial, he “continued his established pre-trial
 pattern of spreading disinformation, casting himself as a victim of
 political persecution, and making bombastic, threatening statements in
 public forums.”

 !Prior to his original sentencing he announced his intent to “command”

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 the U.S. Marshals to arrest Chief Judge James E. Boasberg and the
 prosecutor in his case for “human trafficking” at his sentencing if they
 did not comply with his demands. And he warned that if the Speaker of
 the House and the then-former President didn’t “fucking pull the trigger
 in a very short amount of time,” he would start a nationwide prison riot.

 !At that original sentencing, he told the Court, “You can give me a
 hundred years, and I would do it all over again.”



                                         Respectfully submitted,


                                         /s/ F. Clinton Broden
                                         F. Clinton Broden
                                         TX Bar No. 24001495
                                         Broden & Mickelsen
                                         2600 State Street
                                         Dallas, Texas 75204
                                         214-720-9552
                                         214-720-9594 (facsimile)
                                         clint@texascrimlaw.com

                                         Attorney for Defendant
                                         Guy Wesley Reffitt




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                         CERTIFICATE OF SERVICE

      I, F. Clinton Broden, certify that on November 25, 2024, I caused a copy of the

above document to be served via electronic filing on all counsel of record:


                                              /s/ F. Clinton Broden
                                              F. Clinton Broden




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